             Case 21-30409-mvl11 Doc 21 Filed 03/29/21                            Entered 03/29/21 18:04:15                      Page 1 of 52
  Fill in this information to identify the case:

               Electrotek Corporation
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Texas
  Case number (If known):
                                 21-30409-mvl
                                _________________________                                                                             Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                       12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________
                                                                                                                                    100.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          JPMorgan Chase
    3.1. _________________________________________________  Checking
                                                           ______________________              7
                                                                                               ____    3
                                                                                                      ____    8
                                                                                                             ____   6
                                                                                                                    ____          $______________________
                                                                                                                                    343,765.84
          First Business Bank
    3.2. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                  0.00
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                    $______________________
    4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                  343,865.84
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          WE Energy - Utility Deposit
    7.1. ________________________________________________________________________________________________________                  $______________________
                                                                                                                                     102,967.00
         See continuation sheet
    7.2._________________________________________________________________________________________________________                  $_______________________
                                                                                                                                     36,022.00



   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                  page 1
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                               Entered 03/29/21 18:04:15                     Page 2 of 52
Debtor           Electrotek Corporation
                _______________________________________________________                                                 21-30409-mvl
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Orbotech - Balance of quarterly maintenance contract
    8.1.___________________________________________________________________________________________________________                 $______________________
                                                                                                                                      11,917.00

    8.2.___________________________________________________________________________________________________________                 $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     150,906.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                    Current value of debtor’s
                                                                                                                                    interest
11. Accounts receivable

     11a. 90 days old or less:     1,143,174.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                  $______________________
                                                                                                                                     1,143,174.00
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         266,904.00
                                   ___________________________    263,036.00
                                                               – ___________________________          = ........                  $______________________
                                                                                                                                     3,868.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                   $______________________
                                                                                                                                     1,147,042.00
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method           Current value of debtor’s
                                                                                                         used for current value     interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________     $________________________
    14.2. ________________________________________________________________________________               _____________________     $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________     $________________________
    15.2._______________________________________________________________            ________%            _____________________     $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                   $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                  Entered 03/29/21 18:04:15                    Page 3 of 52
                   Electrotek Corporation                                                                                  21-30409-mvl
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used         Current value of
                                                        physical inventory       debtor's interest        for current value             debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                                                   1,290,321.00             Est. of market value         570,882.00
  Raw  Materials
   ________________________________________                   ______________                                                           $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
                                                                                                            Estimate of cost             662,286.00
  Work in Progress - No value if not completed
   ________________________________________                   ______________                                                           $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                   181,148.00               Sales value                  181,663.00
  Finished Goods                                    ______________                                                                     $______________________
   ________________________________________                                      $__________________       ______________________
                                                              MM / DD / YYYY

22. Other inventory or supplies
                                                                                                            Estimate of market value     20,000.00
  Other Inventory
   ________________________________________                   ______________                                                           $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                      1,434,831.00
                                                                                                                                       $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
                                                                     Est. of market value              70,602.00
     ✔                      181,148.00
            Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used         Current value of debtor’s
                                                                                 debtor's interest        for current value             interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________       $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                 Entered 03/29/21 18:04:15                 Page 4 of 52
Debtor
                Electrotek Corporation
               _______________________________________________________                                                  21-30409-mvl
                                                                                                 Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Office Furniture
                                                                                  $________________      Estimate of market value $______________________
                                                                                                        ____________________        20,000.00

40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office Equipment                                                                                         Estimate of market value $______________________
                                                                                                                                    20,000.00
                                                                                  $________________     ____________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     40,000.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
          Case 21-30409-mvl11 Doc 21 Filed 03/29/21                              Entered 03/29/21 18:04:15                Page 5 of 52
 Debtor
                 Electrotek Corporation
                _______________________________________________________
                                                                                                              21-30409-mvl
                                                                                           Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Machinery & Equipment
                                                                             973,962.00             September 2019 Appraisal 750,000.00
    ______________________________________________________________         $________________       ____________________     $______________________


51. Total of Part 8.                                                                                                            750,000.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
     
     ✔    Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔    No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
            Case   21-30409-mvl11 Doc 21 Filed 03/29/21                                 Entered 03/29/21 18:04:15                   Page 6 of 52
               Electrotek Corporation                                                                                   21-30409-mvl
 Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of      Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest      for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Manufacturing Facility
55.1
                                                                                      1,947,517.00          Est based on 06/19 appraisal 2,500,000.00
                                                                                     $_______________       ____________________ $_____________________

55.2

                                                                                     $_______________       ____________________        $_____________________

55.3

                                                                                     $_______________       ____________________        $_____________________


56. Total of Part 9.                                                                                                                      2,500,000.00
                                                                                                                                        $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
       
       ✔    Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of      Valuation method             Current value of
                                                                                     debtor's interest      used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets                                                                                     Unknown
    To be provided
    ______________________________________________________________                   $_________________      ______________________      $____________________

61. Internet domain names and websites
                                                                                                                                           Unknown
    www.electrotekcorp.com
    ______________________________________________________________                   $_________________      ______________________       $____________________

62. Licenses, franchises, and royalties
                                                                                                                                           Unknown
    To be provided
    ______________________________________________________________                   $_________________      ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________      ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________      _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________      _____________________       $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                         $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                   page 6
           Case 21-30409-mvl11 Doc 21 Filed 03/29/21                              Entered 03/29/21 18:04:15                          Page 7 of 52
Debtor            Electrotek Corporation
                 _______________________________________________________                                                21-30409-mvl
                                                                                                 Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =     $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________        $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________        $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________        $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                     $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    Receivable from Owner. Funds transferred to company on 3/29/21.
   ____________________________________________________________                                                                          700,000.00
                                                                                                                                       $_____________________
    Recyclables
   ____________________________________________________________                                                                          40,000.00
                                                                                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                         740,000.00
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 7
              Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                                Entered 03/29/21 18:04:15                         Page 8 of 52
Debtor
                   Electrotek Corporation
                  _______________________________________________________
                                                                                                                                              21-30409-mvl
                                                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         343,865.84
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         150,906.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         1,147,042.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         1,434,831.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         40,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         750,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               2,500,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         740,000.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         4,606,644.84                          2,500,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  7,106,644.84                                                                                     7,106,644.84
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                 Entered 03/29/21 18:04:15                     Page 9 of 52
                Electrotek Corporation                                                                     21-30409-mvl
 Debtor 1                                                       _                 Case number (if known)
               First Name     Middle Name   Last Name



                                                Continuation Sheet for Official Form 206 A/B
7) Deposits, including security deposits and utility deposits

Celtic - Leasing Deposit                                   $5,000.00

Alliance - Leasing Deposit                                 $7,507.00

Tetra - Leasing Deposit                                    $23,515.00




Official Form 206 A/B                                        Schedule A/B: Property
             Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                        Entered 03/29/21 18:04:15                         Page 10 of 52
  Fill in this information to identify the case:
              Electrotek Corporation
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Texas
                                 21-30409-mvl
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
  Official Form 206D
  Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                               12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Dhirajal Babaria

      __________________________________________                                                                                   6,500,000.00
                                                                                                                                 $__________________          7,162,990.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      435 Shady Lane
      ________________________________________________________
      Southlake, TX 76092
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            08/06/2020
                                     __________________             No
    Last 4 digits of account                                     
                                                                 ✔   Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Dhirajal Babaria
                                                                                                                                 $__________________
                                                                                                                                  1,315,000.00              $_________________
                                                                                                                                                             7,162,990.00
      __________________________________________
     Creditor’s mailing address
      435 Shady Lane
      ________________________________________________________
      Southlake, TX 76092
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             12/03/2019
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    9,500,000.00
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          3
                                                                                                                                                              page 1 of ___
              Case  21-30409-mvl11 Doc 21 Filed 03/29/21
                Electrotek Corporation
                                                                                              Entered 03/29/21 18:04:15      Page 11 of 52
                                                                                                                   21-30409-mvl
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Dhirajal Babaria

      __________________________________________                                                                                  1,685,000.00
                                                                                                                                 $__________________      7,162,990.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

      435 Shady Lane
      ________________________________________________________

      Southlake, TX 76092
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     01/28/2020                  Describe the lien
     Last 4 digits of account
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                  No
     same property?                                              
                                                                 ✔   Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  2 of ___
                                                                                                                                                                        3
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                               Entered 03/29/21 18:04:15                     Page 12 of 52
Debtor
               Electrotek Corporation
               _______________________________________________________                                                    21-30409-mvl
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
             Case 21-30409-mvl11 Doc 21 Filed 03/29/21                              Entered 03/29/21 18:04:15                  Page 13 of 52
   Fill in this information to identify the case:

   Debtor
                    Electrotek Corporation
                    __________________________________________________________________

                                           Northern District of Texas
   United States Bankruptcy Court for the: ________________________________

   Case number       21-30409-mvl
                     ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           130,080.06                 130,080.06
    Employee List to be Provided                                                                                                    $_________________
                                                            Check all that apply.
    Unpaid Wages                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Employee List to be Provided                            As of the petition filing date, the claim is: $______________________
                                                                                                            158,246.14                158,246.14
                                                                                                                                    $_________________
                                                            Check all that apply.
    Accrued and Unpaid Vacation
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________   $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               36
                                                                                                                                         page 1 of ___
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                         Entered 03/29/21 18:04:15   Page 14 of 52
                                                                                                          21-30409-mvl
  Debtor         _______________________________________________________                            Case number (if known)_____________________________________
                 Name


 Pa rt 2 :    List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    A-Z Refrigeration & HVAC                                                                                                  14,639.04
                                                                                                                            $________________________________
                                                                              Contingent
    840 Midwood Drive                                                         Unliquidated
    Burlington, WI, 53105                                                     Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Accusystems                                                            Check all that apply.                              800.00
                                                                                                                            $________________________________
    140 Independence Lane                                                     Contingent
    Chalfont, PA, 18914                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AGC Nelco America Inc.                                                                                                    3.00
                                                                                                                            $________________________________
                                                                              Contingent
    PO Box 392277                                                             Unliquidated
                                                                              Disputed
     Pittsburgh, PA, 15251-9277
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Agilent Technologies                                                   Check all that apply.
                                                                                                                              1,500.00
                                                                                                                            $________________________________
    4187 Collections Center Drive                                             Contingent
    Chicago, IL, 60693                                                        Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Ahmad & Guerard LLP                                                                                                       0.00
                                                                                                                            $________________________________
                                                                           Check all that apply.
    4915 S. Howell Avenue                                                     Contingent
    Suite 300                                                                 Unliquidated
    Milwaukee, WI, 53207                                                      Disputed
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Airgas USA LLC                                                                                                            2,234.58
                                                                                                                            $________________________________
                                                                           Check all that apply.
    PO Box 734445                                                             Contingent
    Chicago, IL, 60673-4445                                                   Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      2 of ___
                                                                                                                                                     page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 15 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,568.00
                                                                                                                     $________________________________
 Aismalibar North America                                               Contingent
 79 Milliken Blvd.                                                      Unliquidated
 Unit 4                                                                 Disputed
 Scarborough, ON CANADA, M1V 1V3
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       10,375.14
                                                                                                                     $________________________________
 ALL4-PCB (North America) Inc.
 345 Mira Loma Avenue                                                   Contingent
 Glendale, CA, 81204-2912                                               Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allfavor Technology (Hong Kong)                                     Check all that apply.
                                                                                                                      18,199.46
                                                                                                                     $________________________________
 Rm 8, 11/F Wing Fung Ind Bld.                                          Contingent
 40-50 Sha Tsui Road, Tsuen Wan                                         Unliquidated
 Hong Kong                                                              Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6,282.02
                                                                                                                     $________________________________
 Allied High Tech Products Inc.                                      Check all that apply.
 2376 E. Pacifica Place                                                 Contingent
 PO Box 4608                                                            Unliquidated
 Compton, CA, 90220                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allworld Machinery Supply                                           Check all that apply.
                                                                                                                       2,839.00
                                                                                                                     $________________________________
 6164 All World Way                                                     Contingent
                                                                        Unliquidated
 Roscoe, IL, 61073                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 3 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 16 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             109.00
                                                                                                                     $________________________________
 Aluma-Tec Industries                                                   Contingent
 W222 N833 Cheaney Road                                                 Unliquidated
 Waukesha, WI, 53186                                                    Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       650.79
                                                                                                                     $________________________________
 Amazon Capital Services
 PO Box 035184                                                          Contingent
                                                                        Unliquidated
 Seattle, WA, 98124-5184                                                Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 American Solution for Business                                      Check all that apply.
                                                                                                                      664.04
                                                                                                                     $________________________________
 8479 Solution Center                                                   Contingent
 Chicago, IL, 60677-8004                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      177.50
                                                                                                                     $________________________________
 Anode Products Co. Inc.                                             Check all that apply.
 1022 W. National Avenue                                                Contingent
 Addison, IL, 60101                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aptean Inc.                                                         Check all that apply.
                                                                                                                       6,000.00
                                                                                                                     $________________________________
 PO Box 743722                                                          Contingent
 Atlanta, GA, 30374-3722                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 17 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25,423.30
                                                                                                                     $________________________________
 Arlon Electronic Materials                                             Contingent
 9433 Hyssop Drive                                                      Unliquidated
                                                                        Disputed
 Rancho Cucamonga, CA, 91730
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Artnet Pro Inc.
 2315 Paragon Drive                                                     Contingent
 San Jose, CA, 95131                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 AT&T                                                                Check all that apply.
                                                                                                                      920.00
                                                                                                                     $________________________________
 PO Box 5019                                                            Contingent
                                                                        Unliquidated
 Carol Stream, IL, 60197-5019                                           Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6,266.00
                                                                                                                     $________________________________
 Atradius Trade Credit                                               Check all that apply.
 7175 Columbia Gateway Drive                                            Contingent
 Lockbox 75786                                                          Unliquidated
 Columbia, MD, 21046                                                    Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 AV Tech / Tetra                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 11645 S. E Street                                                      Contingent
 Suite 200                                                              Unliquidated
 Draper, UT, 84020                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 18 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             396.30
                                                                                                                     $________________________________
 Bearings Incorporated-South                                            Contingent
 PO Box 272                                                             Unliquidated
 Oak Creek, WI, 53154                                                   Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,612.16
                                                                                                                     $________________________________
 Benchmark Products
 1008 Momentum Place                                                    Contingent
 Chicago, IL, 60689-5310                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Blanca's Cleaning Services LLC                                      Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 1437 W. Foster Avenue                                                  Contingent
 Milwaukee, WI, 53221                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      167.87
                                                                                                                     $________________________________
 Brecoflex Co. LLC                                                   Check all that apply.
 222 Industrial Way West                                                Contingent
 Eatontown, NJ, 07724                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Buehler                                                             Check all that apply.
                                                                                                                       9,878.20
                                                                                                                     $________________________________
 a Division of Illinois Tool Works, Inc.                                Contingent
 39343 Treasury Center                                                  Unliquidated
 Chicago, IL, 60694-9300                                                Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 19 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,639.98
                                                                                                                     $________________________________
 C.A. Picard Inc.                                                       Contingent
 5151 East Broadway Blvd.                                               Unliquidated
 Suite 800                                                              Disputed
 Tucson, AZ, 85711
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,012.48
                                                                                                                     $________________________________
 C.R.T. Inc.
 355 Sackett Point Road                                                 Contingent
 Unit 5                                                                 Unliquidated
 North Haven, CT, 06473                                                 Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carelparts                                                          Check all that apply.
                                                                                                                      938.85
                                                                                                                     $________________________________
 1513 W. Whispering Wind Drive                                          Contingent
 Phoenix, AZ, 85085                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Celtic Leasing                                                      Check all that apply.
 Dept. 10295                                                            Contingent
 PO Box 87618                                                           Unliquidated
 Chicago, IL, 60680                                                     Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chema Technology                                                    Check all that apply.
                                                                                                                       18,995.25
                                                                                                                     $________________________________
 PO Box 847                                                             Contingent
 Brookfield, WI, 53008-0847                                             Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 7 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 20 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6,763.06
                                                                                                                     $________________________________
 Cintas Corporation                                                     Contingent
 PO Box 88005                                                           Unliquidated
 Chicago, IL, 60680                                                     Disputed

                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Circuit Solutions LLC
 3012 Cedar Crossing                                                    Contingent
 Minnetonka, MN, 55305                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 City of Oak Creek                                                   Check all that apply.
                                                                                                                      17,955.24
                                                                                                                     $________________________________
 PO Box 44257                                                           Contingent
 West Allis, WI, 53214-7257                                             Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 City of Oak Creek                                                   Check all that apply.
 Attn: Treasurer                                                        Contingent
 8040 S. 6th Street                                                     Unliquidated
 Oak Creek, WI, 53154                                                   Disputed

                                                                     Basis for the claim: Notice Only



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cole-Parmer                                                         Check all that apply.
                                                                                                                       288.46
                                                                                                                     $________________________________
 13927 Collections Center Drive                                         Contingent
 Chicago, IL, 60693-0139                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 21 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             789.91
                                                                                                                     $________________________________
 Colonial Life                                                          Contingent
 Attn: Premium Processing                                               Unliquidated
 PO Box 903                                                             Disputed
 Columbia, SC, 29202-0903
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       71.16
                                                                                                                     $________________________________
 Complete Office of Wisconsin
 PO Box 640                                                             Contingent
 Germantown, WI, 53022                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Crescent Data Dervices LLC                                          Check all that apply.
                                                                                                                      800.00
                                                                                                                     $________________________________
 PO Box 4385                                                            Contingent
                                                                        Unliquidated
 Manchester, NH, 03108                                                  Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,833.13
                                                                                                                     $________________________________
 Current Inc.                                                        Check all that apply.
 30 Tyler Street                                                        Contingent
 PO Box 120183                                                          Unliquidated
 East Haven, CT, 06512                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dallas Cooler Service                                               Check all that apply.
                                                                                                                       399.77
                                                                                                                     $________________________________
 12717 Eastgate Drive                                                   Contingent
 Suite 3                                                                Unliquidated
 Mesquite, TX, 75181                                                    Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 9 of ___
                                                                                                                                              page __    36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 22 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15,000.00
                                                                                                                     $________________________________
 De Nora Tech LLC                                                       Contingent
 25577 Network Place                                                    Unliquidated
                                                                        Disputed
 Chicago, IL, 60673-1255
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,715.06
                                                                                                                     $________________________________
 Delta Dental of Wisconsin
 PO Box 518                                                             Contingent
 Wisconsin Rapids, WI, 54495                                            Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Digi-Key Electronics                                                Check all that apply.
                                                                                                                      10,082.46
                                                                                                                     $________________________________
 PO Box 150                                                             Contingent
                                                                        Unliquidated
 Thief River Falls, MN, 56701                                           Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Douglas C. Jeffery                                                  Check all that apply.
 8212 S. 79th Street                                                    Contingent
 Franklin, WI, 53132                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ECEMS                                                               Check all that apply.
                                                                                                                       12,338.70
                                                                                                                     $________________________________
 1662 Elm Street                                                        Contingent
 Manchester, NH, 03101                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   10 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 23 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             453.02
                                                                                                                     $________________________________
 Economy Lamp Company                                                   Contingent
 4611 W. National Avenue                                                Unliquidated
 Milwaukee, WI, 53214                                                   Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       480.00
                                                                                                                     $________________________________
 Equipment Technologies Inc.
 19 Park Avenue                                                         Contingent
                                                                        Unliquidated
 Hudson, NH, 03051                                                      Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Excellon Acquisition LLC                                            Check all that apply.
                                                                                                                      11,172.90
                                                                                                                     $________________________________
 File No. 57346                                                         Contingent
                                                                        Unliquidated
 Los Angeles, CA, 90074-7346                                            Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,894.37
                                                                                                                     $________________________________
 FedEx                                                               Check all that apply.
 PO Box 94515                                                           Contingent
 Palatine, IL, 60094-4515                                               Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Filter Technology Inc.                                              Check all that apply.
                                                                                                                       378.82
                                                                                                                     $________________________________
 7200 S. Leamington Avenue                                              Contingent
 Chicago, IL, 60638                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   11 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 24 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,057.44
                                                                                                                     $________________________________
 Fisher Scientific                                                      Contingent
 13551 Collections Center Drive                                         Unliquidated
 Chicago, IL, 60693                                                     Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       236734-001
                                              ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       13,985.60
                                                                                                                     $________________________________
 Fox O'Neill & Shannon S.C.
 622 N. Water Street                                                    Contingent
 Suite 500                                                              Unliquidated
 Milwaukee, WI, 53202-4978                                              Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fred Levine Services Inc.                                           Check all that apply.
                                                                                                                      710.00
                                                                                                                     $________________________________
 1415 Redeker Street                                                    Contingent
 Des Plaines, IL, 60016-3913                                            Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10,939.63
                                                                                                                     $________________________________
 French Oil Mill Machinery                                           Check all that apply.
 1035 W. Greene Street                                                  Contingent
 PO Box 920                                                             Unliquidated
 Piqua, OH, 45356-0920                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 G & H Enterprises                                                   Check all that apply.
                                                                                                                       630.00
                                                                                                                     $________________________________
 11602 Azalia Drive                                                     Contingent
                                                                        Unliquidated
 Adelanto, CA, 92301                                                    Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   12 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 25 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,000.00
                                                                                                                     $________________________________
 Genesis Engineering Solutions                                          Contingent
 4501 Boston Way                                                        Unliquidated
 Lanham, MD, 20706                                                      Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,914.50
                                                                                                                     $________________________________
 Global Laminates Inc.
 300 Constitution Avenue                                                Contingent
 Suite 101                                                              Unliquidated
 Portsmouth, NH, 03801-8602                                             Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Global Machine and Maintenance                                      Check all that apply.
                                                                                                                      1,057.40
                                                                                                                     $________________________________
 1131 Delene Road                                                       Contingent
 Jenkintown, PA, 19046                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,000.00
                                                                                                                     $________________________________
 GPR Wet Process Group                                               Check all that apply.
 4271 SW 106th Terrace                                                  Contingent
 Fort Lauderdale, FL, 33328                                             Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grainger                                                            Check all that apply.
                                                                                                                       584.59
                                                                                                                     $________________________________
 Dept. 806363891                                                        Contingent
 Palatine, IL, 60038-0001                                               Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   13 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 26 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Grunau Company                                                         Contingent
 PO Box 74008409                                                        Unliquidated
 Chicago, IL, 60674-8409                                                Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,495.63
                                                                                                                     $________________________________
 Harrington Industrial Plastics
 PO Box 638250                                                          Contingent
 Cincinnati, OH, 45263-8250                                             Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hitachi High-Tech                                                   Check all that apply.
                                                                                                                      4,000.00
                                                                                                                     $________________________________
 2 Technology Park Drive                                                Contingent
 2nd Floor                                                              Unliquidated
 Westford, MA, 01886                                                    Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Humana                                                              Check all that apply.
 500 W. Main St.                                                        Contingent
 Louisville, KY, 40202                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hydrite Chemical Co.                                                Check all that apply.
                                                                                                                       14,401.91
                                                                                                                     $________________________________
 PO Box 689227                                                          Contingent
 Chicago, IL, 60695-9227                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   14 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 27 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 IEC USA Inc.                                                           Contingent
 809 Aldo Avenue                                                        Unliquidated
 Unit 104                                                               Disputed
 Santa Clara, CA, 95054
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       815.93
                                                                                                                     $________________________________
 Indelco Plastics Corp.
 6530 Cambridge Street                                                  Contingent
 Minneapolis, MN, 55426                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Insulectro                                                          Check all that apply.
                                                                                                                      76,739.55
                                                                                                                     $________________________________
 Attn: Credit Department                                                Contingent
 20362 Windrow Drive                                                    Unliquidated
 Lake Forest, CA, 92630                                                 Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,960.09
                                                                                                                     $________________________________
 ITC Intercircuit                                                    Check all that apply.
 5708 Upper 147th Street West                                           Contingent
 Suite 110                                                              Unliquidated
 Apple Valley, MN, 55124-7277                                           Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Imaging Systems Inc.                                          Check all that apply.
                                                                                                                       1,197.43
                                                                                                                     $________________________________
 PO Box 660831                                                          Contingent
                                                                        Unliquidated
 Dallas, TX, 75266-0831                                                 Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   15 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 28 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.43
                                                                                                                     $________________________________
 Jeff's Fast Freight                                                    Contingent
 PO Box 371188                                                          Unliquidated
 Milwaukee, WI, 53237-2288                                              Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,916.27
                                                                                                                     $________________________________
 JM Brennan Inc.
 2101 W. St. Paul Avenue                                                Contingent
 Forest River, ND, 58233                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kinwong Electronic Ltd.                                             Check all that apply.
                                                                                                                      1,563,251.89
                                                                                                                     $________________________________
 19/FL, Block C, Tiely Central Plaza                                    Contingent
 No. 3 Haide Road, Nashan District                                      Unliquidated
 Shenzhen, China                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,925.00
                                                                                                                     $________________________________
 Kyocera Precision Tools Inc.                                        Check all that apply.
 PO Box 749982                                                          Contingent
 Los Angeles, CA, 90074-9982                                            Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laird Technologies Inc.                                             Check all that apply.
                                                                                                                       547.20
                                                                                                                     $________________________________
 62722 Collections Center Drive                                         Contingent
 Chicago, IL, 60693-0627                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   16 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 29 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,483.80
                                                                                                                     $________________________________
 Lakeland Supply Inc.                                                   Contingent
 N17 W25081 Bluemound Road                                              Unliquidated
 Pewaukee, WI, 53072                                                    Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,086.90
                                                                                                                     $________________________________
 Life Insurance North America
 PO Box 782447                                                          Contingent
 Philadelphia, PA, 19178-2447                                           Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Macdermid Inc.                                                      Check all that apply.
                                                                                                                      36,070.95
                                                                                                                     $________________________________
 Mail Code 5283                                                         Contingent
 PO Box 660367                                                          Unliquidated
 Dallas, TX, 75266-0367                                                 Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,987.01
                                                                                                                     $________________________________
 Mackey Technical Services LLC                                       Check all that apply.
 1985 Maplewood Road                                                    Contingent
 Stow, OH, 44224                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matrix USA Inc.                                                     Check all that apply.
                                                                                                                       13,477.37
                                                                                                                     $________________________________
 3261 Edward Avenue                                                     Contingent
 Santa Clara, CA, 95054                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   17 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 30 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,587.53
                                                                                                                     $________________________________
 McMaster-Carr Supply Co.                                               Contingent
 PO Box 7690                                                            Unliquidated
 Chicago, IL, 60680-7690                                                Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       6,757.24
                                                                                                                     $________________________________
 Meredith's Culligan Water
 1531 13th Avenue                                                       Contingent
 PO Box 373                                                             Unliquidated
 Union Grove, WI, 53182                                                 Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Metalworld Inc.                                                     Check all that apply.
                                                                                                                      399.72
                                                                                                                     $________________________________
 1920 17th Street                                                       Contingent
 Racine, WI, 53403                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5,213.00
                                                                                                                     $________________________________
 Metrohm USA Inc.                                                    Check all that apply.
 PO Box 405562                                                          Contingent
 Atlanta, GA, 30384-5562                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael J. Swerdlow                                                 Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 161 W. Trillium Terrace                                                Contingent
 Oak Creek, WI, 53154                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: CFO / Annual Salary



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   18 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 31 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,777.40
                                                                                                                     $________________________________
 Micronutrients                                                         Contingent
 Attn: Accounts Receivable                                              Unliquidated
 PO Box 8                                                               Disputed
 Highland, IL, 62249
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       920.00
                                                                                                                     $________________________________
 Midwest Accurate Grinding Service
 17211 Morse Street                                                     Contingent
                                                                        Unliquidated
 Lowell, IN, 46356-1432                                                 Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Midwest Printed Circuit Service                                     Check all that apply.
                                                                                                                      1,020.00
                                                                                                                     $________________________________
 1741 Circuit Court                                                     Contingent
 Round Lake, IL, 60073                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      496.27
                                                                                                                     $________________________________
 Midwest Sign & Screen Printing                                      Check all that apply.
 NW 6161                                                                Contingent
 PO Box 1450                                                            Unliquidated
 Minneapolis, MN, 55485-6161                                            Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Milwaukee County Treasurer's Office                                 Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 901 N. 9th Street                                                      Contingent
 Room 102                                                               Unliquidated
 Milwaukee, WI, 5233-1462                                               Disputed
                                                                     Basis for the claim: Notice Only



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   19 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 32 of 52
                                                                                                    21-30409-mvl
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,556.00
                                                                                                                     $________________________________
 Milwaukee Metro Sewerage                                               Contingent
 PO Box 78847                                                           Unliquidated
 Milwaukee, WI, 53278-0847                                              Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       24,183.75
                                                                                                                     $________________________________
 MRA the Management Association
 N19W 24400 Riverwood Drive                                             Contingent
 Waukesha, WI, 53188                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nassco Inc.                                                         Check all that apply.
                                                                                                                      3,509.01
                                                                                                                     $________________________________
 5365 S. Moorland Road                                                  Contingent
 New Berlin, WI, 53151                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,000.00
                                                                                                                     $________________________________
 National Technical Systems                                          Check all that apply.
 PO Box 733364                                                          Contingent
 Dallas, TX, 75373-3364                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nordson March                                                       Check all that apply.
                                                                                                                       1,045.00
                                                                                                                     $________________________________
 25033 Network Place                                                    Contingent
 Chicago, IL, 60673-1250                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   20 of ___
                                                                                                                                                          36
             Case  21-30409-mvl11
                Electrotek Corporation Doc 21 Filed 03/29/21                     Entered 03/29/21 18:04:15   Page 33 of 52
                                                                                                      21-30409-mvl
  Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             76,000.00
                                                                                                                       $________________________________
 North Central Insulation                                                 Contingent
 PO Box 91                                                                Unliquidated
 Eau Claire, WI, 54702                                                    Disputed

                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         37,637.18
                                                                                                                       $________________________________
 Oak Creek Water & Sewer
 PO Box 673115                                                            Contingent
 Chicago, IL, 60695-3215                                                  Unliquidated
                                                                          Disputed

                                                                       Basis for the claim: Utility Services



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Occupational Health Centers of the Southwest                          Check all that apply.
                                                                                                                        61.50
                                                                                                                       $________________________________
 P.A.                                                                     Contingent
 PO Box 1297                                                              Unliquidated
 Brookfield, WI, 53008-1297                                               Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        422.67
                                                                                                                       $________________________________
 Olsen Safety Equipment Corp.                                          Check all that apply.
 2120 Airport Road                                                        Contingent
 PO Box 1373                                                              Unliquidated
 Waukesha, WI, 53187                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Orbotech Inc.                                                         Check all that apply.
                                                                                                                         38,750.00
                                                                                                                       $________________________________
 Dept. LA 24620                                                           Contingent
 Pasadena, CA, 91185-4620                                                 Unliquidated
                                                                          Disputed
                                                                       Basis for the claim: Services



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page __
                                                                                                                                                     21 of ___
                                                                                                                                                            36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 34 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             150.00
                                                                                                                    $________________________________
 OSI Environmental Inc.                                                Contingent
 912 Tesch Court                                                       Unliquidated
 Waukesha, WI, 53186                                                   Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      9,806.00
                                                                                                                    $________________________________
 Owens Industries Inc.
 7815 South 6th Street                                                 Contingent
 Oak Creek, WI, 53154-2023                                             Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Patriot Partners LLC                                               Check all that apply.
                                                                                                                     1,000.00
                                                                                                                    $________________________________
 7941 S. Cecily Drive                                                  Contingent
 Oak Creek, WI, 53154                                                  Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                                                                    $________________________________
 Pawnee Lease                                                       Check all that apply.
 3801 Automation Way                                                   Contingent
 Suite 207                                                             Unliquidated
 Fort Collins, CO, 80525                                               Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Paycom                                                             Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 7501 W. Memorial Dr.                                                  Contingent
 Oklahoma City, OK, 73142                                              Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  22 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 35 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40.00
                                                                                                                    $________________________________
 Payment Processing Center                                             Contingent
 PO Box 815519                                                         Unliquidated
 Dallas, TX, 75381-5519                                                Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      21,495.22
                                                                                                                    $________________________________
 Pieper Electric Inc.
 PO Box 88601                                                          Contingent
                                                                       Unliquidated
 Milwaukee, WI, 53288-8601                                             Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Pluritech North America Ltd.                                       Check all that apply.
                                                                                                                     575.00
                                                                                                                    $________________________________
 1556 Ocean Avenue                                                     Contingent
 Suite 18                                                              Unliquidated
 Bohemia, NY, 11716                                                    Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     443.56
                                                                                                                    $________________________________
 Praxair Distribution Inc                                           Check all that apply.
 Dept CH 10660                                                         Contingent
 Palatine, IL, 60055-0660                                              Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Quadient Finance USA Inc                                           Check all that apply.
                                                                                                                      152.80
                                                                                                                    $________________________________
 PO Box 6813                                                           Contingent
 Carol Stream, IL, 60197-6813                                          Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  23 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                    Entered 03/29/21 18:04:15   Page 36 of 52
                                                                                                    21-30409-mvl
  Debtor         _______________________________________________________                     Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             136.95
                                                                                                                     $________________________________
 Recycle Technologies Inc                                               Contingent
 4000 Winnetka Ave N                                                    Unliquidated
 Suite 210                                                              Disputed
 Minneapolis, MN, 55427
                                                                     Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number      ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       76.30
                                                                                                                     $________________________________
 Redishred Acquisition Inc DBA Proshred Security
 1425 Commerce Ave                                                      Contingent
 Unit C                                                                 Unliquidated
 Brookfield, WI, 53045                                                  Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rhys Robert Petricek                                                Check all that apply.
                                                                                                                      373.90
                                                                                                                     $________________________________
 4105 E Barton Rd                                                       Contingent
 Oak Creek, WI, 53154                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                         No
                                                                        Yes
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,000.00
                                                                                                                     $________________________________
 River Run Computers Inc.                                            Check all that apply.
 2320 W Camden Rd                                                       Contingent
 Glendale, WI, 53209-3712                                               Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number      ___________________        Yes
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RMS Quality Service                                                 Check all that apply.
                                                                                                                       6,696.82
                                                                                                                     $________________________________
 11965 12th Ave S                                                       Contingent
 Burnsville, MN, 55337                                                  Unliquidated
                                                                        Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number      ___________________        Yes




    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                   24 of ___
                                                                                                                                                          36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 37 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40,580.97
                                                                                                                    $________________________________
 Rogers Corporation                                                    Contingent
 26995 Network Place                                                   Unliquidated
 Chicago, IL, 60673-1269                                               Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      471.51
                                                                                                                    $________________________________
 SAATI Americas Corporation
 201 Fairview St Extension                                             Contingent
 Fountain Inn, SC, 29644                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  119
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Saltco                                                             Check all that apply.
                                                                                                                     680.17
                                                                                                                    $________________________________
 2000 Praire St                                                        Contingent
 Suite 212                                                             Unliquidated
 Prairie Du Sac, WI, 53578                                             Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     6,486.47
                                                                                                                    $________________________________
 Sentry Insurance                                                   Check all that apply.
 Sentry Business Products                                              Contingent
 PO Box 8019                                                           Unliquidated
 Stevens Point, WI, 54481-8019                                         Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Service Filtration Corp                                            Check all that apply.
                                                                                                                      161.12
                                                                                                                    $________________________________
 PO Box 95367                                                          Contingent
 Palatine, IL, 60095-0367                                              Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  25 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 38 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  122
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             22,243.09
                                                                                                                    $________________________________
 Shenzhen Huafeng EEDM Co LTD                                          Contingent
 1-4F B, Yuehua Industrial Zone                                        Unliquidated
 Yuehua Road, Shangmelin                                               Disputed
 Futain District Shenzhen
                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      117,958.84
                                                                                                                    $________________________________
 Sid Grinker Restoration Inc
 1719 Vel R Phillips Ave                                               Contingent
 Milwaukee, WI, 53212                                                  Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  124
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Sigma-Aldrich Inc                                                  Check all that apply.
                                                                                                                     421.69
                                                                                                                    $________________________________
 PO Box 535182                                                         Contingent
 Atlanta, GA, 30353-5182                                               Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     2,766.54
                                                                                                                    $________________________________
 SPSI Inc.                                                          Check all that apply.
 9825 85th Ave N                                                       Contingent
 Osseo, MN, 55369                                                      Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ST & S Group                                                       Check all that apply.
                                                                                                                      3,350.33
                                                                                                                    $________________________________
 Blair Park                                                            Contingent
 108 Rosedale Ave                                                      Unliquidated
 Richmond, KY, 40475                                                   Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  26 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 39 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             358.59
                                                                                                                    $________________________________
 Staples                                                               Contingent
 PO Box 661409                                                         Unliquidated
 Dallas, TX, 75266-0409                                                Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 State of Wisconsin
 DWD - Unemployment Insurance Taxes                                    Contingent
 PO Box 8914                                                           Unliquidated
 Madison, WI, 53708                                                    Disputed

                                                                    Basis for the claim: Notice Only



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  129
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 State of Wisconsin                                                 Check all that apply.
                                                                                                                     0.00
                                                                                                                    $________________________________
 DWD - Unemployment Insurance Benefits                                 Contingent
 PO Box 7888                                                           Unliquidated
 Madison, WI, 53707                                                    Disputed
                                                                    Basis for the claim: Notice Only



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                                                                    $________________________________
 Steven L. Dutton                                                   Check all that apply.
 1801 E. Ford Drive                                                    Contingent
 Phoenix, AZ, 85048                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Expense Reimbursement



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Taiyo America Inc                                                  Check all that apply.
                                                                                                                      19,045.80
                                                                                                                    $________________________________
 2675 Antler Drive                                                     Contingent
 Carson City, NV, 89701                                                Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  27 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 40 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             389.82
                                                                                                                    $________________________________
 Tapecase LTD                                                          Contingent
 150 Gaylord St                                                        Unliquidated
 Elk Grove Village, IL, 60007                                          Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      860.69
                                                                                                                    $________________________________
 Tara M Dunn
 1302 Forrest Lane                                                     Contingent
 Fairbault, MN, 55021-9262                                             Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  134
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 TCT Circuit Supply Inc                                             Check all that apply.
                                                                                                                     15,084.46
                                                                                                                    $________________________________
 560 S Melrose St                                                      Contingent
 Placentia, CA, 92870                                                  Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     12,471.77
                                                                                                                    $________________________________
 Technic Inc                                                        Check all that apply.
 Accounts Receivable                                                   Contingent
 PO Box 9650                                                           Unliquidated
 Providence, RI, 02940-9650                                            Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Test Equity LLC                                                    Check all that apply.
                                                                                                                      379.11
                                                                                                                    $________________________________
 PO Box 515047                                                         Contingent
 Los Angeles, CA, 90051                                                Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  28 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 41 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             283.24
                                                                                                                    $________________________________
 Texas Technologies                                                    Contingent
 PO Box 3878                                                           Unliquidated
 Cedar Park, TX, 78630283.24                                           Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      282.00
                                                                                                                    $________________________________
 The Cit Group
 Commercial Services Inc                                               Contingent
 PO Box 1036                                                           Unliquidated
 Charlotte, SC, 28201-1036                                             Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  139
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 The Robbins Firm                                                   Check all that apply.
                                                                                                                     0.00
                                                                                                                    $________________________________
 500 14th Street NW                                                    Contingent
 Atlanta, GA, 30318                                                    Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     294.22
                                                                                                                    $________________________________
 The Tipler Corporation                                             Check all that apply.
 PO Box 400                                                            Contingent
 Germantown, WI, 53022                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 TKO Miller, LLC                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 788 N. Jefferson Street                                               Contingent
 Milwaukee, WI, 53202                                                  Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  29 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 42 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             525.00
                                                                                                                    $________________________________
 Trester Hoist & Equiptment                                            Contingent
 W136 N4863 Campbell Drive                                             Unliquidated
 Suite 6                                                               Disputed
 Menomonee Falls, WI, 53051
                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      147.76
                                                                                                                    $________________________________
 Tri State Equiptment
 6880 South 13th St                                                    Contingent
 PO Box 5                                                              Unliquidated
 Oak Creek, WI, 53154                                                  Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  144
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 UCAMCO USA                                                         Check all that apply.
                                                                                                                     1,250.00
                                                                                                                    $________________________________
 1388 Gough St#407                                                     Contingent
 San Francisco, CA, 94109                                              Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     2,865.75
                                                                                                                    $________________________________
 UL LLC                                                             Check all that apply.
 75 Remittance Drive                                                   Contingent
 Suite 1524                                                            Unliquidated
 Chicago, IL, 60675-1524                                               Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ULINE                                                              Check all that apply.
                                                                                                                      5,964.56
                                                                                                                    $________________________________
 Accounts Receivables                                                  Contingent
 PO Box 88741                                                          Unliquidated
 Chicago, IL, 60680-1741                                               Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  30 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 43 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             327.32
                                                                                                                    $________________________________
 Ultra Tool & Manafacturing                                            Contingent
 W194 N11811 McCormick Drive                                           Unliquidated
 Germantown, WI, 53022                                                 Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      1,187.01
                                                                                                                    $________________________________
 United Parcel Service
 PO Box 809488                                                         Contingent
 Chicago, IL, 60680-9488                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  149
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 United States Plastic Corp                                         Check all that apply.
                                                                                                                     1,093.09
                                                                                                                    $________________________________
 1390 Neubrecht Road                                                   Contingent
 Lima, OH, 45081-3196                                                  Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     431.69
                                                                                                                    $________________________________
 UPS Freight                                                        Check all that apply.
 28013 Network Place                                                   Contingent
 Chicago, IL, 60673-1280                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 USA Microcraft Inc                                                 Check all that apply.
                                                                                                                      1,620.00
                                                                                                                    $________________________________
 1247 N Tustin Ave                                                     Contingent
 Anaheim, CA, 92807                                                    Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  31 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 44 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  152
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2,513.00
                                                                                                                    $________________________________
 Utphall Construction LLC                                              Contingent
 13406 4 Mile Rd                                                       Unliquidated
 Franksville, WI, 53126                                                Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      45,918.28
                                                                                                                    $________________________________
 Uyemura International Corp
 3990 Concours Street                                                  Contingent
 Suite 425                                                             Unliquidated
 Ontario, CA, 91764                                                    Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  154
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Valley Labs Inc                                                    Check all that apply.
                                                                                                                     20,196.00
                                                                                                                    $________________________________
 3529 Old Conejo Droad                                                 Contingent
 Suite 112                                                             Unliquidated
 Newbury Park, CA, 91320                                               Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     170.30
                                                                                                                    $________________________________
 Ventec USA LLC                                                     Check all that apply.
 Dept CH 19171                                                         Contingent
 Chicago, IL, 60051-9171                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Veolia Environmental Services                                      Check all that apply.
                                                                                                                      25,764.97
                                                                                                                    $________________________________
 PO Box 73709                                                          Contingent
 Chicago, IL, 60673-7709                                               Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  32 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 45 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             9,072.19
                                                                                                                    $________________________________
 VWR International LLC                                                 Contingent
 PO Box 640169                                                         Unliquidated
 Pittsburg, PA, 15264-0169                                             Disputed

                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      868.40
                                                                                                                    $________________________________
 Warrender LTD
 821 Sivert Drvie                                                      Contingent
 Wood Dale, IL, 60191                                                  Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  159
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Waste Management                                                   Check all that apply.
                                                                                                                     1,630.70
                                                                                                                    $________________________________
 PO Box 4648                                                           Contingent
 Carol Stream, IL, 60197-4648                                          Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     80,454.09
                                                                                                                    $________________________________
 WE Energies                                                        Check all that apply.
 PO Box 90001                                                          Contingent
 Milwaukee, WI, 53290-0001                                             Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Whitlock                                                           Check all that apply.
                                                                                                                      2,169.97
                                                                                                                    $________________________________
 1437 Hamlin Ave                                                       Contingent
 Saint Cloud, FL, 34771                                                Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  33 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 46 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             244.92
                                                                                                                    $________________________________
 William/Reid                                                          Contingent
 PO Box 397                                                            Unliquidated
 W166 N11965 Fond Du Lac Ave                                           Disputed
 Germantown, WI, 53022
                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      508.00
                                                                                                                    $________________________________
 Wiper Tech
 PO Box 895                                                            Contingent
 Germantown, WI, 53022                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  164
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 WIPFLI LLC                                                         Check all that apply.
                                                                                                                     9,400.00
                                                                                                                    $________________________________
 PO Box 3160                                                           Contingent
 Milwaukee, WI, 53201-3160                                             Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                                                                    $________________________________
 Wisconsin Department of Justice                                    Check all that apply.
 17 West Main Street                                                   Contingent
 Madison, WI, 53707-7857                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Notice Only



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Woods & Associates                                                 Check all that apply.
                                                                                                                      65,617.47
                                                                                                                    $________________________________
 2512 Clearbrook Drive                                                 Contingent
 Arlington Heights, IL, 60005-4652                                     Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  34 of ___
                                                                                                                                                         36
            Case  21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                   Entered 03/29/21 18:04:15   Page 47 of 52
                                                                                                   21-30409-mvl
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  167
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             74,536.38
                                                                                                                    $________________________________
 Yan Tat Technology Limited                                            Contingent
 co Euler Hermes Collection                                            Unliquidated
 800 Red Brook Blvd - Ste 400 C                                        Disputed
 Owings Mills, MD, 21117
                                                                    Basis for the claim:



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 Zorn Compressor & Equipment
 1335 E. Wisconsin                                                     Contingent
 Pewaukee, WI, 53072                                                   Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                  35 of ___
                                                                                                                                                         36
            Case   21-30409-mvl11
               Electrotek Corporation Doc 21 Filed 03/29/21                  Entered 03/29/21 18:04:15   Page 48 of 52
                                                                                                  21-30409-mvl
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name



Pa rt 4 :     T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                   Total of claim amounts



5a. Total claims from Part 1                                                                          5a.
                                                                                                                     288,326.20
                                                                                                                   $_____________________________




5b. Total claims from Part 2                                                                          5b.    +       2,859,337.64
                                                                                                                   $_____________________________




5c. Total of Parts 1 and 2                                                                                           3,147,663.84
                                                                                                      5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                 36 of ___
                                                                                                                                                        36
           Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                Entered 03/29/21 18:04:15                    Page 49 of 52

 Fill in this information to identify the case:

             Electrotek Corporation
 Debtor name __________________________________________________________________

                                         Northern District of Texas
 United States Bankruptcy Court for the:______________________

                            21-30409-mvl                                     11
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Equipment Lease                                   Pawnee Equipment
         State what the contract or    Lessee                                            3801 Automation Way
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Suite 207
                                                                                         Fort Collins, CO, 80525
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                             Celtic Leasing
         State what the contract or    Lessee                                            Dept. 10295
 2.2     lease is for and the nature
         of the debtor’s interest                                                        PO Box 87618
                                                                                         Chicago, IL, 60680
         State the term remaining
         List the contract number of
         any government contract

                                       Lease                                              Prime Alliance / Avtech
         State what the contract or    Lessee                                             6995 Union Park Center
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Suite 400
                                                                                          Midvale, UT, 84047
         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
          Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                 Entered 03/29/21 18:04:15                     Page 50 of 52
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Electrotek Corporation

                                         Northern District of Texas
 United States Bankruptcy Court for the:_______________________________

                            21-30409-mvl
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Dhirajlai J. Babaria          Dhirajlai J. Babaria
 2.1
                                     435 Shady Lane                                                      Insulectro
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Southlake, TX 76092                                                                                      G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
            Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                                                      Entered 03/29/21 18:04:15                                           Page 51 of 52


 Fill in this information to identify the case:

                Electrotek Corporation
  Debtor name _________________________________________________________________

                                          Northern District of Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        21-30409-mvl
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        2,500,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       4,606,644.84
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         7,106,644.84
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        9,500,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          288,326.20
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,859,337.64



4. Total liabilities ...........................................................................................................................................................................       12,647,663.84
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
        Case 21-30409-mvl11 Doc 21 Filed 03/29/21                                    Entered 03/29/21 18:04:15              Page 52 of 52

 Fill in this information to identify the case and this filing:

              Electrotek Corporation
 Debtor Name __________________________________________________________________

                                         Northern District of Texas
 United States Bankruptcy Court for the: ________________________________

                              21-30409-mvl
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    03/29/2021
        Executed on ______________                          /s/ Mike Swerdlow
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Mike Swerdlow
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
